                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                    )   Cr. No. 18-00016-01 SOM
                                             )
                        Plaintiff,           )   CERTIFICATE OF SERVICE
                                             )
               v.                            )
                                             )
ISAIAH W. MCCOY (1),                         )
                                             )
                        Defendant.           )
                                             )
                                          __ )

                                     CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing document was duly served
upon the following party)ies) via CM/ECF and Hand Delivery:

(via Electric Filing)

                        Morgan Eary, Esq.
                        Assistant U.S. Attorney
                        300 Ala Moana Blvd. #6-100
                        Honolulu, Hawaii 96850
                        Morgan.Early@usdoj.gov


                        Barry Edwards, Esq.
                        P.O.BOX 1383
                        HONOLULU, HAWAII 96807
                        barryedwards@gmail.com

                        Attorney for Defendant TAWANA ROBERTS

                          DATED: Honolulu, Hawaii, February 27, 2018.

                                                                 _/s/ Gary G. Singh________
                                                                 GARY G. SINGH
                                                                 Attorney for Defendant
                                                                 ISAIAH W. MACCOY
